     Case 2:20-cv-01373-APG-DJA Document 25 Filed 10/19/20 Page 1 of 3




 1   WRIGHT, FINLAY & ZAK, LLP
     Darren T. Brenner, Esq.
 2   Nevada Bar No. 8386
 3   Lindsay D. Robbins, Esq.
     Nevada Bar No. 13474
 4   7785 W. Sahara Ave., Suite 200
     Las Vegas, NV 89117
 5   (702) 637-2345; Fax: (702) 946-1345
 6   lrobbins@wrightlegal.net
     Attorneys for Plaintiff, The Bank of New York Mellon Trust Company, National Association FKA
 7   The Bank of New York Trust Company, N.A. as Successor to JP Morgan Chase Bank N.A., as
     Trustee for RAMP 2005-RS8
 8
 9                               UNITED STATES DISTRICT COURT

10                                      DISTRICT OF NEVADA

11
     THE BANK OF NEW YORK MELLON                       Case No.: 2:20-cv-01373-APG-DJA
12   TRUST COMPANY, NATIONAL
13   ASSOCIATION FKA THE BANK OF NEW
     YORK TRUST COMPANY, N.A. AS                       STIPULATION AND ORDER TO
14   SUCCESSOR TO JP MORGAN CHASE                      EXTEND TIME PERIOD TO RESPOND
     BANK N.A., AS TRUSTEE FOR RAMP                    TO MOTIONS TO DISMISS [ECF Nos.
15   2005-RS8,                                         14, 15 & 16]
16
                          Plaintiff,                   [First Request]
17          vs.

18   FIDELITY NATIONAL TITLE GROUP,
     INC.; CHICAGO TITLE INSURANCE
19   COMPANY; TICOR TITLE OF NEVADA,
     INC.,
20
                          Defendants.
21
22
            Plaintiff The Bank of New York Mellon Trust Company, National Association FKA The
23
     Bank of New York Trust Company, N.A. as Successor to JP Morgan Chase Bank N.A., as
24
25   Trustee for RAMP 2005-RS8 (“BONY”), and Defendants Chicago Title Insurance Company,

26   Fidelity National Title Group, Inc., and Ticor Title of Nevada, Inc. (“Defendants”) (collectively,
27
     the “Parties”), by and through their counsel of record, hereby stipulate and agree as follows:
28
            1. On July 24, 2020, BONY filed its Complaint [ECF No.1]


                                                 Page 1 of 3
     Case 2:20-cv-01373-APG-DJA Document 25 Filed 10/19/20 Page 2 of 3




           2. On August 7, 2020, Defendants each filed a Motion to Dismiss [ECF Nos. 14, 15 &
 1
 2            16];

 3         3. BONY’s deadline to respond to Defendants’ Motion to Dismiss is currently October
 4
              21, 2020;
 5
           4. BONY’s counsel is requesting a thirty (30) extension until Friday, November 20,
 6
 7            2020, to file its response to Defendants’ Motions to Dismiss;

 8         5. This extension is requested to allow counsel for BONY additional time to review and
 9            respond to the points and authorities cited to in Defendants’ Motion to Dismiss;
10
           6. Counsel for Defendants do not oppose the requested extension;
11
12
13   ///

14
15   ///
16
17
     ///
18
19
20   ///
21
22
     ///
23
24
25   ///

26
27
     ///
28



                                             Page 2 of 3
     Case 2:20-cv-01373-APG-DJA Document 25 Filed 10/19/20 Page 3 of 3




            7. This is the first request for an extension which is made in good faith and not for
 1
 2             purposes of delay.

 3          IT IS SO STIPULATED.
 4
      DATED this 16th day of October, 2020.           DATED this 16th day of October, 2020.
 5
 6    WRIGHT, FINLAY & ZAK, LLP                       SINCLAIR BRAUN LLP

 7    /s/ Lindsay D. Robbins                          /s/ Kevin Sinclair
      Darren T. Brenner, Esq.                         Kevin Sinclair, Esq.
 8    Nevada Bar No. 8386                             Nevada Bar No. 12277
 9    7785 W. Sahara Ave., Suite 200                  16501 Venture Boulevard, Suite 400
      Las Vegas, NV 89117                             Encino, California 91436
10    Attorneys for Plaintiff, The Bank of New York   Attorneys for Defendants, Fidelity National
      Mellon Trust Company, National Association      Title Group, Inc., Ticor Title of Nevada, Inc.,
11
      FKA The Bank of New York Trust Company,         and Chicago Title Insurance Company
12    N.A. as Successor to JP Morgan Chase Bank
      N.A., as Trustee for RAMP 2005-RS8
13
14
     IT IS SO ORDERED.
15
                        19th day of October, 2020.
            Dated this _____
16
17                                              ________________________________________
                                                UNITED STATES DISTRICT COURT JUDGE
18
19
20
21
22
23
24
25
26
27
28



                                              Page 3 of 3
